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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                        INDICTMENT

                  v.                            Case No. ______________________

IAN RICHARD SHACK, a/k/a 3, and                 Violations: 21 U.S.C. §§ 846 and 853;
SHERMAINE EDWARD LEWIS,                         28 U.S.C. § 2461(c); and 18 U.S.C.
a/k/a SHERMIE                                   § 924(d)(1)

Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance

The Grand Jury Charges:

       From in or about July 2022 through October 2022, in the Districts of North Dakota,

Minnesota, and elsewhere,

                           IAN RICHARD SHACK, a/k/a 3, and
                       SHERMAINE EDWARD LEWIS, a/k/a SHERMIE,

did knowingly and intentionally combine, conspire, confederate, and agree together and

with others, both known and unknown to the grand jury, to possess with intent to distribute

and distribute 400 grams or more of a mixture and substance containing a detectable amount

of fentanyl 1, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(C), and Title 18, United States Code, Section 2.

                                         Overt Acts

       In furtherance of this conspiracy and to effect and accomplish the objects of it, one

or more of the conspirators committed the following overt acts:




1
 21 U.S.C. § 841(b)(1)(A)(vi): The chemical structure of fentanyl is N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propanamide.
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       1. It was a part of said conspiracy that the defendants and others did possess with

intent to distribute and distributed 400 grams or more of a mixture and substance containing

a detectable amount of fentanyl, a Schedule II controlled substance, within the states of

North Dakota, Minnesota, and elsewhere;

       2. It was further a part of said conspiracy that the defendants and others would and

did attempt to conceal their activities;

       3. It was further a part of said conspiracy that the defendants and others would and

did use telecommunication facilities;

       4. It was further a part of said conspiracy that the defendants and others would and

did use United States currency in their drug transactions;

       5. It was further a part of said conspiracy that on or about October 4, 2022, IAN

RICHARD SHACK, a/k/a 3, distributed approximately 201 pills containing a detectable

amount of fentanyl, a Schedule II controlled substance, in Moorhead, Minnesota;

       6. It was further a part of said conspiracy that on or about October 7, 2022, IAN

RICHARD SHACK, a/k/a 3, possessed with intent to distribute approximately 37 grams of

pills containing a detectable amount of fentanyl, a Schedule II controlled substance, and

approximately $18,320 in United States currency, of which $2,000 was recorded buy funds,

in Fargo, North Dakota;

       7. It was further a part of said conspiracy that on or about October 11, 2022, one or

more of the conspirators distributed approximately 176 pills containing a detectable amount

of fentanyl, a Schedule II controlled substance, in Moorhead, Minnesota;



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      8. It was further a part of said conspiracy that on or about October 25, 2022,

one or more of the conspirators possessed with intent to distribute approximately

696 grams of pills containing a detectable amount of fentanyl, a Schedule II controlled

substance; approximately $34,355 in United States currency; one Taurus, Model G2C,

9mm handgun; and one Smith and Wesson, Model M&P Shield, 9mm handgun, in

Fargo, North Dakota; and

      9. It was further a part of said conspiracy that on or about November 13, 2022,

one or more of the conspirators possessed one Sig Sauer, Model P320, 9mm handgun,

in Fargo, North Dakota;

      In violation of Title 21, United States Code, Section 846; Pinkerton v. United

States, 328 U.S. 640 (1946).




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                         FORFEITURE ALLEGATION – ONE
                      UNDER 21 U.S.C. § 853 and 28 U.S.C. § 2461(c)

The Grand Jury Further Finds Probable Cause That:

       Upon conviction of the offense alleged in Count One of this Indictment,

                        IAN RICHARD SHACK, a/k/a 3, and
                    SHERMAINE EDWARD LEWIS, a/k/a SHERMIE,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853(a),

all right, title, and interest in any property constituting or derived from proceeds obtained

directly or indirectly as a result of the violation of Title 21, United States Code, Section 846,

and any property used or intended to be used in any manner or part, to commit, or to

facilitate the commission of said violation(s), including, but not limited to:

          • $16,320 in United States currency, seized on or about October 7, 2022;

          • $7,170 in United States currency, seized on or about October 25, 2022;

          • $6,157 in United States currency, seized on or about October 25, 2022; and

          • $4,708 in United States currency, seized on or about October 25, 2022.




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                         FORFEITURE ALLEGATION – TWO
                    UNDER 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)

The Grand Jury Further Finds Probable Cause That:

       Upon the conviction of the offense in Count One of this Indictment,

                         IAN RICHARD SHACK, a/k/a 3, and
                     SHERMAINE EDWARD LEWIS, a/k/a SHERMIE,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(1), and Title 28, United States Code, Section 2461(c), firearms involved in the

commission of the offense, including, but not limited to, the following:

          • One Taurus, Model G2C, 9mm handgun, Serial Number TMS71179,

              seized on October 25, 2022;

          • One Smith and Wesson, Model M&P Shield, 9mm handgun, with an

              obliterated serial number, seized on October 25, 2022; and

          •   One Sig Sauer, Model P320, 9mm handgun, Serial Number 58K043508,

              seized on November 13, 2022.

                                           A TRUE BILL:



                                           _________________________________
                                           /s/ Foreperson
                                           Foreperson

/s/ Mac Schneider
MAC SCHNEIDER
United States Attorney

BMS/ld




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